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Attorneys for Homes & Neighbors, LLC and
Copper River Funding, LLC

                         UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF IDAHO


 In Re:                                             Bankruptcy No. 21-20316-NGH

 STEVEN HERBERT LARSEN and                          OBJECTION TO HOMESTEAD
 LEANNE LOUISE LARSEN dba Mountain                  EXEMPTION
 Air Resort, Mountain Air Industries, dba
 Mountain Air Energy dba Davinci Teeth
 Whitening
        Debtors


       COMES NOW Homes & Neighbors, LLC (“Homes”) and Copper River Funding, LLC

(CRF) pursuant to Rule 4003 of the Federal Rules of Bankruptcy Procedure. Homes and CRF

object to Debtor’s claim of homestead exemption on the basis that the property Debtors claim as

exempt is commercial property. Homes and CRF incorporate by reference the facts and exhibits

set forth in their Motion for Stay to Lift Automatic Stay (See Dkt. No. 33) in support of this

Objection to Homestead Exemption.



       DATED this 14th day of October, 2021.

                                                          HAHN LAW OFFICE

                                                           /s/ Frederick J. Hahn, III



OBJECTION TO HOMESTEAD EXEMPTION
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                                CERTIFICATE OF SERVICE

     I hereby certify that on the 14th day of October, 2021, I served a copy of the foregoing on
CM/ECF Registered Participants as reflected on the Notice of Electronic Filing:

       Jeffery H. Andrews
       jeffandrewslaw@yahoo.com


       David P. Gardner
       dpg@winstoncashatt.com

       U.S. Trustee
       ustp.region18.bs.ecf@usdoj.gov

Additionally, a copy of the foregoing was served on the following parties by first class mail,
postage prepaid, addressed to:

Steven Herbert Larsen
5239 East Dodd Road
Hayden, Idaho 83835


Leanne Louise Larsen
5239 East Dodd Road
Hayden, Idaho 83835




                                             /s/ Frederick J. Hahn, III
                                             FREDERICK J. HAHN, III




OBJECTION TO HOMESTEAD EXEMPTION
